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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 LAURA LEE DAVILA,                               §
                                                 §
                Plaintiff,                       §
                                                 §
 v.                                              §        Civil Action No. 5:22-cv-01118-XR
                                                 §
 WELLS FARGO BANK, NA,                           §
                                                 §
                Defendant.
                                                 §


                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Laura Lee Davila

(“Plaintiff”) and Defendant Wells Fargo Bank, N.A. (“Wells Fargo”), by and through their

undersigned counsel, hereby stipulate and agree that all claims and causes of action asserted, or

could have been asserted, by Plaintiff against Wells Fargo are hereby dismissed with prejudice.




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                                            Respectfully submitted,

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                                            -AND-

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon the following counsel of record via ECF and/or email pursuant to the Federal
Rules of Civil Procedure on this 2nd day of December, 2022:

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